Case 3:18-cv- 0177 foe HEY ENCE E eae eee On ee te 10 PagelD.1036

DALLAS DIVISION CLERM USDISTRICT COURT
KORTHERN DIST. OF TX
BRITTANY HENLEY § FILED
7019 JAN 17 PM 12: Ob
Plaintiff, §
VS. § CIVIL ACTION 3:18-GVPUFTTeavE eK 7
§
ABBESELOM GHERMAY, M.D.; and §
DALLAS BACK PAIN §
MANAGEMENT/MOMENTUM PAIN §
MANAGEMENT §
Defendants. §

RETURN OF SERVICE

Came to my hand on Tuesday, January 15, 2019 at 11:45 AM,

Executed at: 2377 NORTH STEMMONS FREEWAY, ROOM 502, DALLAS, TX 75207
within the county of DALLAS at 1:55 PM, on Tuesday, January 15, 2019,

by individually and personally delivering to the within named:

WENDY CHUNG, M.D.
a true copy of this

SUBPOENA REQUIRING APPEARANCE AT DEPOSITION and DEFENDANTS
ABBESELOM GHERMANY, M.D. AND DALLAS NEUROSURGICAL & SPINE, P.A. d/b/a
MOMENTUM PAIN MANAGEMENT'S NOTICE OF INTENTION TO TAKE THE
ORAL/VIDEOTAPED DEPOSITION OF DR. WENDY CHUNG WITH
SUBPOENA DUCES TECUM with EXHIBIT A attached

and tendered $45.00 witness fee cash
having first endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Danny L. Haney who after being duly sworn
on oath states: "My name is Danny L. Haney. I am a person not less than eighteen (18) years of age and I am competent
to make this oath. I am a resident of the State of Texas. I have personal knowledge of the facts and statements contained
herein and aver that each is true and correct. I am not a party to nor related or affiliated with any party to this suit. I have
no interest in the outcome of the suit. I have never been convicted of a felony or of a misdemeanor involving moral
turpitude. I am familiar with the Texas Rules of Civil Procedure, and the Texas Civil Practice and Remedies Codes as
they apply to service of process. I am certified by the Judicial Branch Certification Commission to deliver citations and
other notices from any District, County and Justice Courts in and for the State of Texas in compliance with rule 103 and
501.2 of the TRCP.

 

 

Notary Public
STATE OF TEXAS

ID#634083- 6 )
. Oct. 28, 2021

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
BRITTANY HENLEY

Plaintiff

v.
Civil Action 3:18-cv-1777-m
ABBESELOM GHERMAY, M.D.; and
DALLAS BACK PAIN
MANAGEMENT/MOMENTUM PAIN
MANAGEMENT

Cr Lr? Sr Or Lr Lr Lr Lh LP Lr Lr MN

Defendants.

SUBPOENA REQUIRING APPEARANCE AT DEPOSITION
THE STATE OF TEXAS

TO: Wendy Chung, M.D.
Dallas County Health and Human Services
2377 N Stemmons Fwy
Dallas, TX 75207

Greetings:

YOU ARE COMMANDED to attend a deposition on January 29, 2019 at the following time and
place: Southwestern Institute of Forensic Sciences at Dallas, 2355 N. Stemmons Freeway, Dallas,
Texas 75207 beginning at 1p.m. and continuing from day to day until completion.

Respectfully submitted,

THE FRALEY FIRM, AN OFFICE OF BEARD
KULTGEN BROPHY BOSTWICK &
DICKSON, PLLC

901 Main St., Suite 6300

Dallas, Texas 75202

(214) 761-6460

(214) 761-6469 - Fax

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By: /s/Laura Kugler
LAURA ELLIS KUGLER
State Bar No. 06571020

Ikugler@fraley-law.com

ATTORNEYS FOR DEFENDANTS
ABBESELOM GHERMAY, M.D. AND
DALLAS NUEROSURGICAL & SPINE, P.A.
d/b/a MOMENTUM PAIN MANAGEMENT

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing instrument was served on
counsel of record this 14th day of January, 2019 by the method indicated below:

VIA EMAIL

Jim Girards

Girards Law Firm

10000 N. Central Expressway
Suite 400

Dallas, TX 75231

/s/Laura Kugler
LAURA ELLIS KUGLER

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DUTIES OF PERSON SERVED WITH SUBPOENA

 

You are advised that under TEXAS RULES OF CIVIL PROCEDURE 176.2(a) and 176.6(a), and
CIVIL PRACTICE AND REMEDIES CODE §22.002, a person served with a subpoena has certain rights
and obligations. Rule 176.6 provides:

a)

b)

d)

Compliance required. Except as provided in this subdivision, a person served with
a subpoena must comply with the command stated in the subpoena unless
discharged by the court or by the party summoning such witness. A person
commanded to appear and give testimony must remain at the place of deposition,
hearing, or trial from day to day until discharged by the court or by the party
summoning the witness.

Organizations. If a subpoena commanding testimony is directed to a corporation,
partnership, association, governmental agency, or other organization, and the
matters on which examination is requested are described with reasonable
particularity, the organization must designate one or more persons to testify on its
behalf as to matters known or reasonably available to the organization.

Production of documents or tangible things. A person commanded to produce
documents or tangible things need not appear in person at the time and place of
production unless the person is also commanded to attend and give testimony, either
in the same subpoena or a separate one. A person must produce documents as they
are kept in the usual course of business or must organize and label them to
correspond with the categories in the demand. A person may withhold material or
information claimed to be privileged but must comply with Rule 193.3. A
nonparty's production of a document authenticates the document for use against the
nonparty to the same extent as a party's production of a document is authenticated
for use against the party under Rule 193.7.

Objections. A person commanded to produce and permit inspection and copying
of designated documents and things may serve on the party requesting issuance of
the subpoena--before the time specified for compliance -- written objections to
producing any or all of the designated materials. A person need not comply with
the part of a subpoena to which objection is made as provided in this paragraph
unless ordered to do so by the court. The party requesting the subpoena may move
for such an order at any time after an objection is made.

Protective orders. A person commanded to appear at a deposition, hearing, or trial,
or to produce and permit inspection and copying of designated documents and
things may move for a protective order under Rule 192.6(b) -- before the time
specified for compliance -- either in the court in which the action is pending or in a
district court in the county where the subpoena was served. The person must serve
the motion on all parties in accordance with Rule 21a. A person need not comply
with the part of a subpoena from which protection is sought under this paragraph

SUBPOENA REQUIRING APPEARANCE AT HEARING FOR WENDY CHUNG, M.D. Page 3
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unless ordered to do so by the court. The party requesting the subpoena may seek
such an order at any time after the motion for protection is filed.

f) Trial Subpoenas. A person commanded to attend and give testimony, or to produce
documents or things, at a hearing or trial, may object or move for protective order
before the court at the time and place specified for compliance, rather than under
paragraphs (d) and (e).

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WARNING

FAILURE BY ANY PERSON WITHOUT ADEQUATE EXCUSE TO OBEY A
SUBPOENA SERVED UPON THAT PERSON MAY BE DEEMED A CONTEMPT OF
THE COURT FROM WHICH THE SUBPOENA IS ISSUED OR A DISTRICT COURT IN
THE COUNTY IN WHICH THE SUBPOENA IS SERVED, AND MAY BE PUNISHED BY
FINE OR CONFINEMENT, OR BOTH.

This subpoena is issued at the request of Abbeselom Ghermay, M.D.., a party to the above-
described action, whose attorney of record is Laura Kugler.

Date of issuance: January 15, 2019

Subpoena issued by:

/s/Laura Kugler
LAURA ELLIS KUGLER

SUBPOENA REQUIRING APPEARANCE AT HEARING FOR WENDY CHUNG, M.D. Page 5
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MEMORANDUM OF ACCEPTANCE OF SERVICE
I, Wendy Chung, M.D., accepted service of this Subpoena Requiring Appearance at a

hearing and received the witness fee onthe _ day of January, 2019.

 

Wendy Chung, M.D.

SUBPOENA REQUIRING APPEARANCE AT HEARING FOR WENDY CHUNG, M.D. Page 6
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
BRITTANY HENLEY

Plaintiff

Civil Action 3:18-cv-1777-m
ABBESELOM GHERMAY, M.D.; and
DALLAS BACK PAIN
MANAGEMENT/MOMENTUM PAIN
MANAGEMENT

Cr SL Lr Ln Lr Lh SN Lr Lr Lh Lr Lr

Defendants.

DEFENDANTS ABBESELOM GHERMANY, M.D. AND DALLAS NEUROSURGICAL
& SPINE, P.A. d/b/a MOMENTUM PAIN MANAGEMENT’S NOTICE OF INTENTION
TO TAKE THE ORAL/VIDEOTAPED DEPOSITION OF DR. WENDY CHUNG
WITH SUBPOENA DUCES TECUM

To: Plaintiff Brittany Henley, by and through her counsel of record, Jim Girards, Girards Law
Firm, 10000 N. Central Expressway, Suite 400, Dallas, Texas 75231.

Please take notice that on Tuesday, January 29, 2019, beginning at 1 p.m. and continuing
from day to day until completion, the undersigned will take the oral/videotaped deposition of
WENDY CHUNG, M.D. before a certified court reporter with Corona Court Reporting at the
following location:

Southwestern Institute of Forensic Sciences at Dallas
2355 N. Stemmons Freeway
Dallas, Texas 75207
The witness is to produce at the deposition the items indicated in the attached Exhibit A,

incorporated herein as if fully set forth. Please take notice pursuant to Rule 202 of the Texas Rules

of Civil Procedure that this deposition may be taken by videotape.

DEFENDANTS ABBESELOM GHERMANY, M.D. NOTICE OF INTENTION TO TAKE THE ORAL/VIDEOTAPED DEPOSITION
OF WENDY CHUNG, M.D. WITH SUBPOENA DUCES TECUM
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Respectfully submitted,

The Fraley Firm,

An office of Beard, Kultgen, Brophy, Bostwick &
Dickson, PLLC

901 Main St., Suite 6300

Dallas, Texas 75202

(214) 761-6460

(214) 761-6469 - Fax

/s/ Elizabeth M. Fraley
ELIZABETH M. FRALEY
State Bar No. 13180500
efraley@fraley-law.com
LAURA ELLIS KUGLER
State Bar No. 06571020
Ikugler@fraley-law.com

ATTORNEYS FOR DEFENDANTS
ABBESELOM GHERMAY, M.D. AND
DALLAS NUEROSURGICAL & SPINE, P.A.
d/b/a MOMENTUM PAIN MANAGEMENT

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing instrument has been sent to
counsel of record via the method indicated below on this the 14th day of January, 2019:

VIA EMAIL:

Jim Girards

Girards Law Firm

10000 N. Central Expressway
Suite 400

Dallas, TX 75231

/s/ Laura E. Kugler
Laura E. Kugler

DEFENDANTS ABBESELOM GHERMANY, M.D. NOTICE OF INTENTION TO TAKE THE ORAL/VIDEOTAPED DEPOSITION
OF WENDY CHUNG, M.D. WITH SUBPOENA DUCES TECUM

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EXHIBIT A

UNLESS AGREED OTHERWISE, YOU ARE INSTRUCTED TO BRING THE
ORIGINALS OF SUCH DOCUMENTS IF THE ORIGINALS ARE IN YOUR POSSESSION,
CUSTODY OR CONTROL, OR THE CONTROL OF YOUR AGENTS OR
REPRESENTATIVES; AND YOU ARE FURTHER INSTRUCTED TO PRODUCE COPIES OF
THE ORIGINALS ONLY IF SUCH ORIGINALS ARE NOT IN YOUR POSSESSION,
CUSTODY OR CONTROL, OR THE COPY INCLUDES MARGINAL NOTES OR OTHER
CHANGES NOT INCLUDED IN THE ORIGINALS.

As used herein, the term “records” includes all documents in the possession, custody or
control of the witness to whom this request is directed, or their agents or representatives, and
includes, but is not limited to, papers, memoranda, agreements, medical records, x-rays, test
results, videotapes, contracts, writings, photographs, correspondence, accounts, drawings, graphs,
charts, transcripts of telephone conversations or records thereof, certificates, licenses, permits,
articles, journals, treatises, reports and/or any other data compilations from which the requested
information can be obtained or translated.

WENDY CHUNG, M.D. is requested to produce the following records, if not already
produced in discovery:

1. A copy of any witness statement given in this case;

2. Any and all documents reviewed by the witness prior to his/her deposition or any
documents read to the witness by any other person or otherwise used to refresh the recollection
about the occurrence or incident in question.

3. Any and all correspondence or other written or transcribed communications
between the witness and Abbeselom Ghermay, M.D. and any individual at Dallas Neurosurgical
& Spine, P.A.;

4, Any and all correspondence or other written or transcribed communications
between the witness and any other individual regarding Brittany Henley

5. Any and all correspondence or other written communications between the witness
and any other individual related to the fungal meningitis outbreak and cases of the infection in
Texas and the handling of same.

6. A copy of your driver’s license;

DEFENDANTS ABBESELOM GHERMANY, M.D. NOTICE OF INTENTION TO TAKE THE ORAL/VIDEOTAPED DEPOSITION
OF WENDY CHUNG, M.D. WITH SUBPOENA DUCES TECUM
Page 3

 
